                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

               v.                                             MAGISTRATE NO. / / 99A/

CERTAIN PERSONS


                                              ORDER

               AND NOW, this /2day of                                , 2018 upon application of the

United States Attorney that the complaint, warrant and affidavit, and corresponding docket

entries in the within criminal proceeding be impounded, said motion is hereby GRANTED and it

is

                                            ORDERED

that the complaint, warrant and affidavit, and corresponding docket entries, in the above-

mentioned case are hereby IMPOUNDED and to be retained in the custody of the Clerk of Court

until further order of the Court or until notified by the United States Attorney, or his

representative, that the defendant has been arrested, except that the Clerk of Court is authorized

to provide two certified copies of the warrant to the United States Marshals Service and the FBI.

The Clerk of Court is directed to make no public docket entry of the sealed documents and

motion and order to seal, and to provide copies of all sealed documents only to Joseph A. LaBar ,

Assistant United States Attorney.



               IT IS FURTHER ORDERED THAT the complaint, warrant and affidavit, and

corresponding docket entries, shall be unimpounded immediately upon notification by the United

States Attorney, or his representative, that the defendant has been arrested or upon further order




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of the Court.



                                          BY THE COURT:




                                          Hon. Hon. Henry S. Perkin
                                          United States Magistrate Judge




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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

        v.                                             MAGISTRATE NO. /                99"/

CERTAIN PERSONS


                  MOTION TO IMPOUND COMPLAINT AND WARRANT



                The United States of America, by and through its attorneys, William M.

McSwain, United States Attorney in and for the Eastern District of Pennsylvania, and Joseph A.

LaBar , Assistant United States Attorney for that District, moves that the complaint, warrant and

affidavit, and corresponding docket entries in the within criminal proceeding be impounded, and,

in support thereof, alleges that if the existence and content of these documents are made public

prior to the arrest of the defendant there is the risk that the safety of victim/witnesses may be

jeopardized, that the ongoing investigation may be compromised, and that the defendant will

flee, thereby hindering the execution of the arrest warrant.

                WHEREFORE, the government respectfully requests that this Court enter an

order directing that the complaint, warrant and affidavit, and corresponding docket entries, in the

above-mentioned case be IMPOUNDED and be retained in the custody of the Clerk of Court

until further order of the Court or until notified by the United States Attorney, or his

representative, that the defendant has been arrested, except for the two certified copies of the

warrant to be provided to the United States Marshal's Service and the FBI. The government

further requests that the Clerk of Court be directed to make no public docket entry of the sealed

documents and motion and order to seal, and to provide copies of all sealed documents only to




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Joseph A. LaBar , Assistant United States Attorney, until further order of the Court or until

notified by the United States Attorney, or his representative, that the defendant has been arrested.


                                              Respectfully submitted,

                                             WILLIAM M. MCSWAIN
                                             United States Attorney




                                              seph A. La y ar
                                             Assistant United States Attorney




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AO 91 (Rev. 11/11) Criminal Complaint (approved by AUSA


                                    UNITED STATES DISTRICT COURT
                                                                for the
                                                  Eastern District of Pennsylvania

                  United States of America                         )
                             v.                                    )
                    Gavin Lee Casdorph                                     Case No.




                         Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     May 5, 2018                in the county of             Northampton      in the
     Eastern          District of          Pennsylvania        , the defendant(s) violated:

            Code Section                                                     Offense Description
 Title 18, United States Code,                 Willfully and maliciously making threats and conveying false information
 Section 844(e)                                concerning an attempt to kill individuals and damage and destroy buildings by
                                               means of an explosive.




         This criminal complaint is based on these facts:
 See attached affidavit




        RI Continued on the attached sheet.



                                                                                              Complainant's signature

                                                                                                 Eddie Garcia II
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:    /-1/2-/A /
                                                                                                 Judge's signature

City and state:     A  tLegPretfriki       (AL                                                HENRY S. PERKIN
                                                                                              Printed name and title




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AO 442 (Rev. 11/11) Arrest Warrant (approved by AUSA



                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Eastern District of Pennsylvania

                  United States of America
                             v.                                        )
                     Gavin Lee Casdorph                                )           Case No /?--/
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                            Defendant


                                                         ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
                      GAVIN CASDORPH
(name of person to be arrested)
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment             0 Superseding Indictment             0 Information          0 Superseding Information 6/1 Complaint
0 Probation Violation Petition              0 Supervised Release Violation Petition             0 Violation Notice El Order of the Court

This offense is briefly described as follows:
 See Attachment "A"




Date:         12/12/2018
                                                                                                Issuing officer's signature

City and state: Allentown, Pennsylvania                                               U.S. Magistrate Judge Henry S. Perkin
                                                                                                  Printed name and title


                                                                    Return

           This warrant was received on (date)                             , and   the person was arrested on (date)
at (city and state)

Date:
                                                                                               Arresting officer's signature



                                                                                                  Printed name and title




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                                      ATTACHMENT A


COUNT ONE:
        On or about the fifth day of May, 2018, in the Eastern District of Pennsylvania and
elsewhere, the defendant, GAVIN CASDORPH, through the use of the mail, telephone,
telegraph, or other instrument of interstate or foreign commerce, or in or affecting interstate or
foreign commerce, willfully made threats, and maliciously conveyed false information knowing
the same to be false, concerning an attempt or alleged attempt being made, or to be made, to kill,
injure, or intimidate any individual or unlawfully to damage or destroy any building, vehicle, or
other real or personal property by means of fire or an explosive, in that CASDORPH threatened
to detonate multiple explosive devices he claimed to have planted on the campus of Lafayette
College in Easton, Pennsylvania, to inflict maximum damage on those at the college.
       In violation of Title 18, United States Code, Section 844(e).




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                                            AFFIDAVIT

I, Eddie Garcia II, being first duly sworn, hereby depose and state as follows:

I. BACKGROUND

       1.      I have been employed as a Special Agent of the FBI since March 6, 2016. I am

currently assigned to the Allentown Resident Agency of the Philadelphia Division. Prior to

joining the FBI, I was employed as an Immigration Enforcement Agent and Deportation Officer

with the Depaitment of Homeland Security from January 2007 to March 2016. As a Special

Agent I have received instruction and on-the-job training in various aspects of law enforcement.

During my employment with the FBI, I have participated in investigations involving

international and domestic terrorism, bank robberies, drug trafficking, financial institution fraud,

human trafficking, and other federal violations. In the course of those investigations, I have

conducted consensual body recordings, employed the use of electronic surveillance techniques,

have executed numerous search and arrest warrants, conducted surveillance, and secured other

relevant information utilizing other investigative techniques.

       2.      As a Federal Agent, I am authorized to investigate violations of laws of the

United States and to execute warrants issued under the authority of the United States.

       3.      I make this affidavit in support of an arrest warrant for GAVIN CASDORPH for

violations of Title 18, United States Code, Section 844(e), arising from threats that he made on

May 5, 2018, to detonate bombs and kill innocent victims on the campus of Lafayette College in

Easton, Pennsylvania.

       4.      The statements in this affidavit are based in part on information provided by

myself and other Special Agents and colleagues employed by the Federal Bureau of

Investigation. Since this affidavit is being submitted for the limited purpose of securing an arrest

warrant, I have not included each and every fact known to me concerning this investigation. I



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have set forth only the facts that I believe are necessary to establish probable cause for the arrest

of this defendant.

II. APPLICABLE STATUTES

        5.        Title 18, United States Code, Section 844(e) provides that "... (w)hoever, through

the use of the mail, telephone, telegraph, or other instrument of interstate or foreign commerce,

or in or affecting interstate or foreign commerce, willfully makes any threat, or maliciously

conveys false information knowing the same to be false, concerning an attempt or alleged

attempt being made, or to be made, to kill, injure, or intimidate any individual or unlawfully to

damage or destroy any building, vehicle, or other real or personal property by means of fire or an

explosive shall be imprisoned for not more than 10 years or fined under this title, or both."

       III. FACTS

       6.         Lafayette College is a private liberal arts college based in Easton,

Pennsylvania. Approximately 2,450 students are enrolled at the school. On May 5, 2018,

Twitter user "BdanJafarSaleem" ("the subject") posted several threatening tweets, including a

link to a Pastebinl letter, in which he claimed to have placed explosive devices around the

Lafayette College campus in order to "inflict the utmost damage possible." The letter indicated

that the subject had recently lost his grandfather, that his girlfriend had broken up with him; that

he found faith and healing in Allah and that he pledged allegiance to ISIS. In addition to the

threats posted on Twitter, the same threats were also e-mailed directly to numerous Lafayette

College school officials using a Yahoo email account on May 5, 2018, at 8:24 PM. As a result of

these threats, Lafayette College took substantial additional steps to guarantee the safety of its

students, including moving the location of the college's graduation ceremonies.

       7.        Investigation into the Twitter account BdanJafarSaleem revealed telephone


1 Pastebin   is an online content hosting service where users can store plain text.


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number 239-258-4259 was associated with that account and used to activate it. Further

investigation of the telephone number 239-258-4259 found it associated with a business which

provides a service which allows individuals/users to verify social media and email accounts

without providing their own phone numbers to do so. On July 2, 2018, Person 1 was interviewed

regarding that telephone number. He indicated he worked along with a Russian for that

company. Users can go to the website of the service, create an account, place funds into the

account, and then receive a verification for them to use in opening the social media or email

accounts of their choosing. The verification is in a form which allows the creator of these

accounts to remain anonymous.

       8.       The owners of this service provided information revealing that the individual who

had used the service to open the BdanJafarSaleem account had also used the service to open

several other Twitter accounts around the same time, all using variations of the name of Person

2. Specifically, on May 5, 2018, the date of the threats, at 7 PM, the subject attempted to create a

Twitter account with a handle comprised of Person 2's first then last names. At 7:15 PM the

subject attempted to create a Twitter account using Person 2's last then first name. At 7:30 PM

the subject successfully created a Twitter account using Person 2's first then last name followed

by "PA 1" and began to "follow" a variety of people and businesses from Lafayette College and

the surrounding area. Finally, at 7:45 PM the subject successfully created the Twitter account

"BdanJafarSaleem" that was used to make the threat. This account followed many of the same

accounts that the PA 1 account did.

       9.       Further investigation revealed that at the time of the threats, Person 2 was enrolled

at Lafayette College. On December 6, 2018, Person 2 was interviewed by law enforcement at

his residence in Middleburg, VA.. He immediately told the interviewers that he could help with

the investigation into threats at Lafayette College and that he knew all about it. He said he was



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playing an online game called "Counterstrike" on the day of the threats, and that he and the other

players were using Discord2 to chat and communicate. He said that he got into an online

argument with an individual who goes by the screen name of "Neuroscientist" and who is known

for "Doxing" people online 3 Person 2 said he knew another person from the Discord channel

named "Gavin" LNU, who was friends with "David" LNU. David LNU told Person 2 that Gavin

was involved in the "Swatting" at Lafayette College.4

       10.    On December 11, 2018, GAVIN CASDORPH was interviewed at his residence

located at 12411 Hopa Circle, Anchorage, Alaska, by FBI Special Agents Elliot Peterson and

Joshua Rongitsch. A search warrant was executed at the same address. At the beginning of the

interview, CASDORPH was advised of his rights and he agreed to speak with the Special

Agents. After waiving his rijhts CASDORPH admitted that he had made the threats against

Lafayette College. He explained that he was in the Discord channel with "Neuroscientist" on

May 5, 2018, the date of the threats, when there was an argument between "Neuroscientist" and

Person 2. CASDORPH said that "Neuroscientist" asked CASDORPH to send in an anonymous

threat to Lafayette College. CASDORPH said that to set up the anonymous account to make the

threats against Lafayette College, he purchased a telephone number from a Russian website. He

then used that telephone number to create a Twitter account. CASDORPH explained that he

used TORS while creating the Twitter account to shield his identity. CASDORPH made the



2 Discord is a VoIP platform designed for video gaming communities, that specializes in
communication between users in a chat channel.
3 Doxing is the Internet-based practice of researching and broadcasting private or identifiable
information (especially personally identifiable information) about an individual or organization.
4 Swatting is the harassment tactic of deceiving an emergency service (via such means as hoaxing
an emergency services dispatcher) into sending a police and emergency service response team to
another person's address.
5 TOR is software enabling anonymous online communication. The name is derived from an
acronym for the original software project name "The Onion Router." TOR directs Internet traffic
through a free, worldwide, volunteer overlay network consisting of more than seven thousand


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threat via Twitter by posting a Pastebin link. CASDORPH said it was a generic threat that had

something to do with ISIS. CASDORPH boasted that believed it would not have been easy for

law enforcement to prove how he did it unless he admitted to it.

       IV. CONCLUSION

       11.    Based on the facts set forth above, I have probable cause to believe that violations

of Title 18, United States Code, Section 844(e), has been committed by GAVIN LEE

CASDORPH. I therefore respectfully request the issuance of an arrest warrant.




                                                    Eddie Garcia II
                                                    Special Agent, Federal Bureau of
                                                    Investigation


Subscribed and sworn to me this 12th
day of December 2018.




HENRY S. PERKIN
United States Magistrate Judge




relays to conceal a user's location and usage from anyone conducting network
surveillance or traffic analysis.


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